           Case 2:12-cr-00025-MCE Document 21 Filed 02/27/12 Page 1 of 2


                              IN THE UNITED STATES DISTRICT COURT
 1
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 2
 3   UNITED STATES OF AMERICA                        )
                                                     )          Case No. 2:12-CR-00025 MCE
 4
              Plaintiff,                             )
 5                                                   )          ORDER
     vs.                                             )
 6                                                   )          Depositing Funds Into The Registry
                                                     )          of The Court To Cover Forfeiture
 7
                                                     )          Amount And Maximum Fine
     STANCIL ENTERPRISES, INC., et al
 8                                                   )
                                                     )
 9         Defendant.
                                                     )
     _____________________________________
10
11            Based on the Stipulation by and between the United States of America by and through
12   Assistant U.S. Attorney Jean Hobler, Esq. and defendant Stancil Enterprises, Inc. by and through
13   its attorney Donald H. Heller, Esq., that Stancil Enterprises, Inc.,
14
              GOOD CAUSE APPEARING IT IS HEREBY ORDERED ADJUDGED AND
15
     DECREED THAT: Stancil Enterprises, Inc., shall deposit the sum of $923,415.85 in the
16
     Registry of this Court which shall satisfy in advance of the imposition of Judgment and Sentence
17
     the monetary stipulated maximum forfeiture and maximum fine contained in the Plea and Global
18
     Resolution Agreement (Plea Agreement) filed with this Court on February 6, 2012, ECF No. 8,
19
     which states the reasons for said deposit and the related conditions and stipulations related to the
20
     judgment and sentencing and the forthcoming forfeiture order and the monetary components of
21
     said $923,415.85, to wit:
22
              1. $ 423,415.85, the balance owed on the forfeiture amount in addition to the $5,173.45
23
                  previously seized and the subject of related Case Number: 2:10-mc-00046-MCE-
24
                  DAD [Plea Agreement p. 3:24-28];
25
26
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28   Order                                                                  Case No. 2:12-CR-00025 MCE
     Depositing Funds Into The Registry of
     The Court To Cover Forfeiture Amount
     And Maximum Fine
                            Case 2:12-cr-00025-MCE Document 21 Filed 02/27/12 Page 2 of 2



 1                             2. $ 500,000 the maximum fine amount for a corporation pursuant to a conviction for a
 2                                violation of 18 U.S.C. § 371- Conspiracy. See 18 U.S.C. § 3571 (c) Fines for
 3                                organizations in subdivision (3) states “for a felony, not more than $500,000”;
 4                             IT IS FURTHER ORDERED ADJUDGED AND DECREED THAT:
 5                             Said sum of $923,415.85 shall be disbursed to the United States pursuant the final
 6   judgment to entered in this matter, less any sum the Court determines should be refunded to
 7   Stancil Enterprises, Inc. if the Court determines in its discretion pursuant to 18 U.S. C. § 3553 in
 8   imposing a fine less than the maximum fine permitted by law.
 9                             IT IS FURTHER ORDERED ADJUDGED AND DECREED THAT: Based on the
10   Stipulation that the government in no way agrees that the fine imposed by this Court against
11   Stancil Enterprises, Inc., should be any amount less than the maximum sum of $500,000.00, or
12   waives any right to examine the finances of Stancil Enterprises, Inc. and, pursuant to the plea and
13   global resolution agreement filed in this matter, the finances of defendant Joseph Stancil in order
14   to determine the defendant, Stancil Enterprises, Inc. ability to pay a fine; and that the stipulation
15   does not affect the defendant’s obligation under the law and the Sentencing Guidelines to
16   demonstrate an inability to pay a fine in this case.
17
                                IT IS FURTHER ORDERED ADJUDGED AND DECREED THAT: The sum of
18
     $923,415.85, shall be disbursed in amounts to particular payees as directed by further order of
19
     this Court.
20
     Dated: February 24, 2012
21
22                                                              __________________________________
                                                                MORRISON C. ENGLAND, JR
23   DEAC_Signat ure-END:
                                                                UNITED STATES DISTRICT JUDGE
24
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28   Order                                                                                 Case No. 2:12-CR-00025 MCE
     Depositing Funds Into The Registry of
     The Court To Cover Forfeiture Amount
     And Maximum Fine
